                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In re: MARVIN REX RANKIN III 1      )
        SSN: xxx-xx-3901             )                    Case No.: 20-80495-CRJ-11
                                     )
              and                    )
                                     )
       MARY BETH                     )
       LEMMOND RANKIN                )
       SSN: xxx-xx-7950              )
                                     )
       Debtors.                      )                    CHAPTER 11
 ____________________________________)

              FIRST MOTION FOR APPROVAL OF INTERIM PROFESSIONAL FEES
                AND EXPENSES FOR CHAPTER 11 DEBTORS’ ATTORNEY

        COMES NOW the duly appointed and acting Debtors-in-Possession in the above styled
 Chapter 11 case, and shows the Court as follows:

                                          General Background

        1.     On February 18, 2020 the Debtors, Marvin Rex Rankin and Mary Beth Lemmond
 Rankin, commenced with this Court a voluntary case under Chapter 11 of Title 11, United States
 Code (the "Bankruptcy Code").

         2.    On February 13, 2020 the Debtors, RWS Charter LLC and Bayport Corporation
 Ltd., commenced with this Court voluntary cases under Chapter 11 of Title 11, United States
 Code (the "Bankruptcy Code").

        3.     The Debtors continue to be authorized to operate the business as Debtors-in-
 Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

         4.      On February 25, 2020, this Court approved the employment of Sparkman,
 Shepard & Morris, P.C. as Debtors’ counsel. That day, this Court also entered an Order
 approving the Debtors Motions to allow its attorneys to send monthly notices of attorney’s fees
 and expenses incurred (the “Monthly Fee Notices”) to the Debtors’ 20 largest unsecured
 creditors, all parties requesting notice, any committees appointed in this matter, the Bankruptcy
 Administrator (the “Notice Parties”).

        4.      This Court’s order of February 25, 2020 also orders the Debtors counsel to file
 with the Court, beginning on July 1, 2020, and serve upon the Notice Parties not more than once

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       In addition to Marin Rex Rankin III and Mary Beth Lemmond Rankin., the Debtors include the following:
 RWS Charter LLC, Case No. 20-80470-CRJ11; and Bayport Corporation, Ltd., Case No. 20-80471-CRJ11




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 every 90 days an interim application for allowance of compensation and reimbursement of
 expenses, pursuant to 11 U.S.C. §331, of the amounts sought in the Monthly Fee Notices filed
 during such period (the “Interim Fee Application”). The Interim Fee Application must include a
 summary of the Monthly Fee Notices that are the subject of the request and any other
 information requested by the Court or required by the Local Rules.

                                       Relief Requested

        5.      The said professional currently employed by the Debtors has previously served
 Monthly Fee Notices for the months of February, March, April, and May 2020, with balances
 due on each as shown below:

                   Marvin Rex Rankin and Mary Beth Lemmond Rankin

 February 2020        Compensation: $3,059.00 (0% paid) / Expenses: $39.95 (100% paid)
                      Total: $3,098.95
                      Date of Notice: March 3, 2020
                      Amount of fees unpaid and to be satisfied by the Debtor after Court
                      approval of this present application: $ 3,059.00

 March 2020           Compensation: $2,317.00 (0% paid) / Expenses: $44.00 (100% paid)
                      Total: $2,361.00
                      Date of Notice: March 31, 2020
                      Amount of fees unpaid and to be satisfied by the Debtor after Court
                      approval of this present application: $ 2,317.00

 April 2020           Compensation: $3,135.50 (0% paid) / Expenses: $75.80 (100% paid)
                      Total: $3,211.30
                      Date of Notice: April 30, 2020
                      Amount of fees unpaid and to be satisfied by the Debtor after Court
                      approval of this present application: $ 3,135.50

 May 2020             Compensation: $864.50 (0% paid) / Expenses: $32.30 (100% paid)
                      Total: $896.80
                      Date of Notice: June 1, 2020
                      Amount of fees unpaid and to be satisfied by the Debtor after Court
                      approval of this present application: $ 864.50

 TOTAL COMPENSATION AND FEES INCURRED DURING THIS PERIOD:
               Compensation:    $ 9,376.00
               Expenses:        $ 192.05
               Combined Total:  $ 9,568.05




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                                  RWS Charter LLC

 February 2020    Compensation: $4,415.50 (0% paid) / Expenses: $223.60 (100% paid)
                  Total: $4,639.10
                  Date of Notice: March 3, 2020
                  Amount of fees unpaid and to be satisfied by the Debtor after Court
                  approval of this present application: $ 4,415.50

 March 2020       Compensation: $2,775.00 (0% paid) / Expenses: $0.00 (100% paid)
                  Total: $2,775.00
                  Date of Notice: March 31, 2020
                  Amount of fees unpaid and to be satisfied by the Debtor after Court
                  approval of this present application: $ 2,775.00

 April 2020       Compensation: $1,275.00 (0% paid) / Expenses: $0.00 (100% paid)
                  Total: $1,275.00
                  Date of Notice: April 30, 2020
                  Amount of fees unpaid and to be satisfied by the Debtor after Court
                  approval of this present application: $ 1,275.00

 May 2020         Compensation: $998.50 (0% paid) / Expenses: $0.00 (100% paid)
                  Total: $998.50
                  Date of Notice: June 1, 2020
                  Amount of fees unpaid and to be satisfied by the Debtor after Court
                  approval of this present application: $ 998.50

 TOTAL COMPENSATION AND FEES INCURRED DURING THIS PERIOD:
               Compensation:    $ 9,464.00
               Expenses:        $ 223.60
               Combined Total:  $ 9,687.60


                               Bayport Corporation Ltd.

 February 2020    Compensation: $3,883.00 (0% paid) / Expenses: $212.70 (0% paid)
                  Total: $4,095.70
                  Date of Notice: March 3, 2020
                  Amount of fees unpaid and to be satisfied by the Debtor after Court
                  approval of this present application: $ 4,095.70

 March 2020       Compensation: $4,420.00 (0% paid) / Expenses: $0.00 (100% paid)
                  Total: $4,420.00
                  Date of Notice: March 31, 2020
                  Amount of fees unpaid and to be satisfied by the Debtor after Court
                  approval of this present application: $ 4,420.00




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 April 2020            Compensation: $3,121.50 (0% paid) / Expenses: $247.00 (0% paid)
                       Total: $3,368.50
                       Date of Notice: April 30, 2020
                       Amount of fees unpaid and to be satisfied by the Debtor after Court
                       approval of this present application: $ 3,368.50

 May 2020              Compensation: $2,286.50 (0% paid) / Expenses: $0.00 (100% paid)
                       Total: $2,286.50
                       Date of Notice: June 1, 2020
                       Amount of fees unpaid and to be satisfied by the Debtor after Court
                       approval of this present application: $ 2,286.50

 TOTAL COMPENSATION AND FEES INCURRED DURING THIS PERIOD:
               Compensation:    $13,711.00
               Expenses:        $ 459.70
               Combined Total:  $14,170.70


       6.      No agreement exists between the attorney and any other person or entity
 whatsoever for the sharing of compensation or expenses in this case.

       7.     This application is brought under the provisions of Sections 327, 328, 330, 331 of
 the United States Bankruptcy Code and Rule 2016 of the Federal Rules of Bankruptcy
 Procedure.

          WHEREFORE, the Debtor requests that the Court: enter an Order approving such
 compensation and expenses and authorizing the Debtor to pay same; and grant other and further
 relief as the Court deems just and proper.

        Respectfully submitted this the 1st day of July, 2020.


                                          /s/ Tazewell T. Shepard IV
                                          Tazewell T. Shepard III
                                          Tazewell T. Shepard IV
                                          Attorneys to Debtor-in-Possession

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                               CERTIFICATE OF SERVICE

        This is to certify that I have this 1st day of July, 2020 served the foregoing document
 upon the Debtor’s 20 largest unsecured creditors, Richard Blythe, Office of the Bankruptcy
 Administrator, P.O. Box 3045, Decatur, AL 35602 all persons requesting notice and the
 following listed persons by electronic service through the Court’s CM/ECF system and/or by
 depositing said copies in the United States Mail in properly addressed envelopes with adequate
 postage thereon.


                                        /s/ Tazewell T. Shepard IV
                                        Tazewell T. Shepard IV




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